Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 1 of 77
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

JS 44 (Rev. 02/19)

provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORAL)

nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

Dennis Trotter and Christina Johnsten

(b) County of Residence of First Listed Plaintiff

Cascade

EXCEPT IN US. PLAINTIFF CASES)

(c) Attorneys (Hirar Name, Address, and Telephone Number)

Scott B. Freemann, Esq., Freemann Law Offices 3101 W. Glenwood Ave

G-103, Philadelphia, PA 19121 (215) 564-7400

DEFENDANTS

NOTE:

Attormeys (Knows)

 

County of Residence of First Listed Defendant

United Lutheran Seminary, Dr. Richard Green and James Dunlop

Philadelphia

HIN 1S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Ih. BASIS OF JURISDICTION {Place an “NX in One Bax Ont)

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1 £50 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
CG 151 Medicare Aci CG 330 Federal Employers’ Product Liability
CF 152 Recovery of Defaulted Liability (1 368 Asbestos Personal
Student Loans 0 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran's Benefits 0 350 Motor Vehicle O 370 Other Fraud
1 160 Stockholders’ Suits 0 355 Motor Vehicle OF 371 Truth in Lending
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CO 240 Torts to Land

OC 245 Tort Product Liabitity
CO 290 All Other Real Property

  

 

O 362 Personal Injury -

© 440 Other Civil Rights
O 441 Voting
& 442 Employment

O 446 Amer. w/Disabilities -

0 448 Education

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of Property 21 USC 881
GF 690 Other

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28 USC 157

 

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0 740 Railway Labor Act

0D 751 Family and Medical

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“FEDERAL TAX SUITS:

 

C1 870 Taxes (U.S. Plaintiff
or Defendant)

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26 USC 7609

 

 

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7 375 False Claims Act

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OF 410 Antitrast

C7 430 Banks and Banking

0 450 Commerce

© 460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

CG 480 Consumer Credit

OG 485 Telephone Consumer
Protection Act

CF 490 CableSai TV

850 Secunties‘Commodities
Exchange

G 890 Other Stanntory Actions

O 891 Agricultural Acts

407 893 Environmental Manters

0 895 Freedom of Information
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CF 896 Arbitration

GO 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

CF 950 Constitutionality of
State Statutes

 

¥. ORIGIN (¢Ptace an “X" in One Box ¢ Duty)

21 Original

Proceeding

VI. CAUSE OF ACTION

Vil. REQUESTED IN
COMPLAINT:

012 Removed from
State Court

G 3° Remanded from
Appellate Court

a4

Brief description of cause: .
Plaintiffs are alleging retaliation.

© CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

 

VIN. RELATED CASE(S)

Cite the U.S. Civil Statute under which you are filin i rsity):
42 U.S.C. 2000(e), et seq.; 42 U.S.C. 1981 ("Section 1981"); 29 U.S.C. 621 ("ADEA")

Reinstated or
Reopened
(spectfy)

© 5 Transferred from
Another District

Transfer

(Do not cite jurisdictional statutes unless divers:

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6 Multidistrict
Litigation -

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Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

WYes No

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Dennis Trotter and Christina Johnsten . CIVIL ACTION
Plaintiffs,

Vv.
United Lutheran Seminary, et al.

Defendants. NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other partics, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ()

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (X)
February 3, 2020 e) )— Plaintiffs
Date \ / Attorney-at-law Attorney for
(215) 564-7400 (215) 564-7406 _sbf@freemannlaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 3 of 77

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
{to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assigninent to the appropriate calendar)

Address of Plaintiff: Dennis Trotter and Christina Johnsten, Great Falls, MT 59405

 

Address of Defendant: United Lutheran Seminary, Philadelphia, 7301 Germantown Avenue, Philadelphia, PA 19119

 

Philadelphia, PA

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | nol |
previously terminated action in this court?

2. Dees this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal. or pro se civil rights Yes [ | No
case filed by the same individual?

1] certify that, to my knowledge. the within case [J is / (&) is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare. 02/03/2020

 
 

82030

Attorney 1D. # (if applicable)

 

 

 

orney-at-Law’ / Pro Se Plaintiff

 

 

CIVIL: (Place a V in one category only)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
{] 1. Indemnity Contract, Marine Contract, and All Other Contracts (J |. Insurance Contract and Other Contracts
(J 2. FELA CI] 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury C1 3. Assault. Defamation
DD 4. Antitrust (1 4. Marine Personal Injury
A 5. Patent LI 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [J] 6. Other Personal Injury (Please specify):
7. Civil Rights L] 7. Products Liability
C0 8. Habeas Corpus C1 8. Products Liability - Asbestos

9. Securities Act(s) Cases CL] 9. Allother Diversity Cases
H 10, Social Security Review Cases (Please specify):
CJ 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

,, Scott Bennett Freemann, Esq.

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53,2. § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

| Relief other than monetary damages is sought.

 
  

82030

Attorney 1.D. # (if applicable)

pare, 02/03/2020

 

 

NOTE: A trial de novo will be a trial by jury only if there has been comptance with F.R.C.P. 38.

 

Civ, 609 (5 2018)

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 4 of 77

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DENNIS TROTTER :
Great Falls, MT 59405, : Civil Action No.

and

CHRISTINA JOHNSTEN :
Great Falls, MT 59405, :

Plaintiffs,
v.

UNITED LUTHERAN SEMINARY :
7301 Germantown Avenue ;
Philadelphia, PA 19119,

and : Jury Trial Demanded

DR. RICHARD GREEN

c/o United Lutheran Seminary
7301 Germantown Avenue
Philadelphia, PA 19119,

@ 44 @8 s6 «a6

and

as ee 46 6

JAMES DUNLOP
c/o United Lutheran Seminary 3
7301 Germantown Avenue
Philadelphia, PA 19119,

Defendants.

 

COMPLAINT

INTRODUCTION

1. This is an action for reinstatement, damages and other relief to

redress defendants’ employment retaliation and hostile work violations, and
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 5 of 77

violations of rights secured to plaintiffs by Title VII of the Civil Rights Acts of
1964, 42 U.S.C. § 2000e, et seq., as amended by the Civil Rights Act of 1991
(“Title VII”), the Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended by the
Civil Rights Act of 1991 (“Section 1981”), the Age Discrimination in
Employment Act of 1967, 29 U.S.C. § 621, et seg. ("ADEA"), the Pennsylvania
Human Relations Act, 43 P.S. § 951 et seq. (“PHRA”), and the Philadelphia Fair
Practices Ordinance, Chapter 9-1100 of the Philadelphia Code, titled in full as
“Philadelphia Fair Practices Ordinance: Protections Against Unlawful

Discrimination”, and the regulations thereunder (“PFPO”).

PARTIES
2. Plaintiff Dennis Trotter ("Mr. Trotter") is an adult individual
residing in Great Falls, Montana 59405.
3. Plaintiff Christina Johnsten ("Ms. Johnsten") is an adult individual
residing in Great Falis, Montana 59405,

4. Mr. Trotter and Ms. Johnsten are collectively referred to herein as
“plaintiffs”.
5. Mr. Trotter and Ms. Johnsten are married to one another.

6. Defendant United Lutheran Seminary ("ULS"), a graduate
professional school that provides theological educational services, has a place
of business at 7301 Germantown Avenue, Philadelphia, Pennsylvania 19119.

7. ULS is in an industry affecting interstate commerce and regularly
conducts business in the Commonwealth of Pennsylvania.

8. Upon information and belief, defendant Dr. Richard Green
(“Interim President Green”) is an adult individual residing in the State of
Arizona in Tucson.

9. Upon information and belief, Dr. Richard Green is the former
Interim President of ULS and was a supervisor with immediate authority over
plaintiffs.

10. Upon information and belief, defendant James Dunlop (“Acting

2
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 6 of 77

President Dunlop”) is an adult individual residing in the Commonwealth of
Pennsylvania in Mechanicsburg.

11. Acting President Dunlop is the former Acting President of ULS and
was a supervisor with immediate authority over plaintiffs.

12. ULS, Interim President Green and Acting President Dunlop are
collectively referred to herein as “defendants”.

13. At all times material hereto, ULS employed more than fifty (50) full
time employees.

14.  Atall times material hereto, ULS acted by and through its
authorized agents, servants, and/or employees acting within the course and
scope of their employment with ULS and in furtherance of ULS’s business.

15. At all times material hereto, ULS acted as an employer within the
meaning of the statutes and ordinance (Title VII, the ADEA, the PHRA and the
PFPO), which form the basis of this matter.

16. Plaintiffs were employees of ULS within the meaning of the statutes
and ordinance (Title VII, the ADEA, the PHRA and the PFPO), which form the

basis of this matter.

JURISDICTION AND VENUE

17. The causes of action which form the basis of this matter arise
under Title VII, Section 1981, the ADEA, the PHRA, and the PFPO.

18. The District Court has jurisdiction over Count I (Title VII) pursuant
to 42 U.S.C. § 2000e-5 and 28 U.S.C. § 1331.

19. The District Court has jurisdiction over Count II (Section 1981)
pursuant to 42 U.S.C. § 1981 and 28 U.S.C. § 1331.

20. The District Court has jurisdiction over Count III (ADEA) pursuant
to 29 U.S.C. § 626(c) and 28 U.S.C. § 1331.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 7 of 77

21. The District Court has supplemental jurisdiction over Count IV
(PHRA) pursuant to 28 U.S.C. § 1367.

22. The District Court has supplemental jurisdiction over Count V
(PFPO) pursuant to 28 U.S.C. § 1367.

23. The District Court also has jurisdiction over all counts pursuant to
28 U.S.C. § 1332 since the amount in controversy in the present action exceeds
the sum or value of seventy five thousand dollars ($75,000.00), exclusive of
interests and costs, and there exists complete diversity of citizenship, as
Plaintiffs are citizens of the state of Montana and Defendants are not citizens of
the State of Montana

24, Venue is proper in the District Court for the Eastern District of
Pennsylvania under 28 U.S.C. § 1391(b) as this is where one or more
defendants reside, where a substantial part of the events and omissions giving
rise to the claims occurred, and where one or more defendants may be found.

25. Onor about November 7, 2018, plaintiffs filed retaliation
complaints with the Equal Employment Opportunity Commission
("EEOC")(charge no. 530-2019-00805 (Trotter) and charge no. 530-2019-00810
(Johnsten), which were cross-filed with the Pennsylvania Human Relations
Commission ("PHRC") (“Administrative Complaints”). A copy of their
Administrative Complaints without referenced exhibits thereto is attached
hereto as Exhibit “1” and incorporated by reference herein.

26. Onor about February 1, 2019, plaintiffs filed additional retaliation
complaints with the EEOC, which were cross-filed with the PHRC (“Second
Administrative Complaints”) and which were docketed under the following
same charge numbers — charge no. 530-2019-00805 (Trotter) and charge no.
930-2019-00810 (Johnsten). A copy of their Second Administrative Complaints
without referenced exhibits thereto is attached hereto as Exhibit “2” and
incorporated by reference herein.

27. Onor about November 14, 2019, the EEOC issued Notices of Right
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To Sue (“Notices”) to plaintiffs. A copy of the Notices is attached hereto as
Exhibit “3” and incorporated by reference herein.

28. Less than ninety days has passed since plaintiffs received their
Notices.

29. More than a year has passed since plaintiffs Administrative
Complaints and Second Administrative Complaints were filed.

30. Plaintiffs have fully complied with all administrative prerequisites
for the commencement of this action.

31. Pursuant to Rule 5.1.1. of the Local Rules of Civil Procedure of the
United States District Court for the Eastern District of Pennsylvania that
prohibits the averment of specific monetary damages, plaintiffs aver only that
the amounts in controversy each exceed the jurisdictional amount for
arbitration of One Hundred and Fifty Thousand Dollars ($150,000.00)
exclusive of interests and costs in accordance with the Local Rules of the

District Court.

FACTS

32. ULS was formed on July 1, 2017, via a consolidation of two
Lutheran seminaries: Lutheran Theological Seminary at Philadelphia (“LTSP”)
and Lutheran Theological Seminary at Gettysburg (“LTSG”).

ULS employment

33. Prior to the consolidation, LTSP first employed Mr. Trotter in 2015
as its Vice President for Advancement.

34. Prior to the consolidation, LTSP first employed Ms. Johnsten in
2015 as its Vice President for Student Vocation and Formation.

35. In connection with the consolidation of LTSP and LTSG, Mr. Trotter

was promoted to the position of Senior Vice President for Advancement for ULS.
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36. In connection with the consolidation of LTSP and LTSG, Ms.
Johnsten was promoted to the position of Vice President of Student Services
and Enrollment for ULS.

37. On November 1, 2017, Mr. Trotter was promoted to the position of
Chief Operating Officer (“COO”) for ULS.

38. Mr. Trotter’s annual salary as COO was $125,000 and he received
valuable benefits, including, but not limited to, health insurance and
retirement contributions equal to ten percent (10%) of his annual salary.

39. Ms. Johnsten’s annual salary as Vice President of Student Services
and Enrollment was $80,000 and she received valuable benefits, including, but
not limited to, health insurance and retirement contributions equal to ten

percent (10%) of her annual salary.

Protected Activities and Resulting Retaliation

40. On March 14, 2018, James Dunlop became the Acting President of
ULS.

41. Prior to becoming Acting President, James Dunlop had served on
the ULS Board and was a member of the Board’s Executive Committee.

42. On March 16, 2018, Mr. Trotter met with Acting President Dunlop
to discuss the status of operations under his oversight as COO.

43. During the March 16, 2018 meeting with Acting President Dunlop,
Mr. Trotter raised concerns regarding several race and age based
discriminatory events at ULS, including, but not limited to, Acting President
Dunlop’s prior reference to the termination of the former President of ULS as a
“lynching”.

44. During the March 16, 2018 meeting with Acting President Dunlop,
Mr. Trotter requested that ULS investigate the discriminatory events he raised.

45. On March 17, 2018, Mr. Trotter sent a follow-up email to Acting

President Dunlop, which, in part, reiterated his concerns regarding acts of
Case 2:20-cv-00570-MSG Document 1 Filed 02/03/20 Page 10 of 77

racism and ageism at ULS and asked Acting President Dunlop to initiate an
investigation.

46. Following the March 16, 2018 meeting and the submission of his
March 17, 2018 email, Acting President Dunlop’s demeanor towards Mr.
Trotter changed.

47. Shortly after the March 16, 2018 meeting and the submission of
his March 17, 2018 email, ULS and Acting President Dunlop subjected Mr.
Trotter to a sustained campaign of antagonism and a retaliatory hostile work
environment.

48. On March 27, 2018, without any advance warning and just ten
minutes before the start of the Philadelphia Advancement Team meeting,
Acting President Dunlop told Mr. Trotter that he would no longer have
responsibility for advancement related job responsibilities, and that such
responsibilities had been assigned to Dr. Angela Zimmann (“Dr. Zimmann”), a
junior employee with next to no experience within those areas.

49. On March 27, 2018, Acting President Dunlop also told Mr. Trotter
that he would not be permitted to participate in the Philadelphia Advancement
Team staff meeting taking place later that day, even though the other attending
staff members reported directly to Mr. Trotter.

50. Upon information and belief, at the March 27, 2018 meeting with
the Philadelphia Advancement Team, Acting President Dunlop stated “we are
not going back to Egypt to eat watermelon” in reference to both the claims of
racism related to a letter written by the Gettysburg Advancement staff and a
proposed meeting with African-American students scheduled to take place later
than afternoon.

51. On April 2, 2018, Mr. Trotter was asked to submit to an interview
on April 6, 2018 in connection with a grievance filed by Dr. Zimmann that
falsely claimed that Mr. Trotter had created an unsafe and hostile work

environment.
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52. Upon information and belief, Acting President Dunlop immediately
engaged an outside consultant, John Campanella of the Lyons Company, to
investigate Dr. Zimmann’s grievance.

93. On April 4, 2018, Mr. Trotter submitted a grievance to ULS, which
reiterated his concerns regarding various race and age based discriminatory
practices at ULS and memorialized the retaliation he had suffered to date.

54. Mr. Trotter’s April 4, 2018 grievance once again asked ULS to
initiate an investigation into discriminatory practices at ULS and to cease
retaliating against him.

55. On April 6, 2018, Mr. Trotter met with Mr. Campanella in
connection with the investigation of Dr. Zimmann’s grievance.

56. On or about April 9, 2018, Mr. Campanella forwarded a letter to
Acting President Dunlop, which confirmed that Mr. Trotter had not created a
hostile work environment or engaged in any unlawful behavior.

57. Despite multiple requests, Acting President Dunlop refused to give
Mr. Trotter a copy of Mr. Campanella’s April 9, 2018 determination or confirm
the results of that investigation in writing.

58. In April 2018, Acting President Dunlop excluded Mr. Trotter from
participating in the hiring of a major gift officer for ULS.

59. On April 13, 2018, Ms. Johnsten submitted a grievance, which
raised, among other things, concerns about systemic racism at ULS and noted
the retaliation she had suffered for previously objecting to such racism at ULS.

60. ULS and Acting President Dunlop refused to timely address the
grievances of Mr. Trotter and Ms. Johnsten.

61. On April 13, 2018, Acting President Dunlop apologized in writing
for his past inappropriate actions by stating: “On a personal note, I have been
called to task for some of my own comments and use of particular terms that
have caused pain for people. I sincerely apologize for those things that I have

said or left unsaid.”
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62. On April 20, 2018, Mr. Trotter once again asked ULS to investigate
his grievance.

63. On April 20, 2018, Mr. Trotter once again asked for a copy of Mr.
Campanella’s findings regarding Dr. Zimmann’s unfounded grievance.

64. On about April 20, 2018, Acting President Dunlop appointed
himself and five other individuals to serve on an interview team to find and
select his replacement.

65. Acting President Dunlop did not ask Mr. Trotter to join the
interview team as would be normative for an organization’s COO.

66. However, Acting President Dunlop asked Dr. Zimmann to serve on
the interview team.

67. On May 2, 2018, ULS finally engaged Andrea Merrick, Esq. of CCI
Consulting to address the grievances filed by Mr. Trotter and Ms. Johnsten.

68. ULS also engaged Ms. Merrick to address other complaints of race
discrimination that had been raised by students and other ULS staff members.

69. Mr. Trotter met with Ms. Merrick on May 7, 2018 and May 21,
2018 and discussed racism and ageism at ULS and the retaliation he had
suffered.

70. Ms. Johnsten met with Ms. Merrick on May 7, 2018 and May 15,
2018 and discussed racism at ULS and the retaliation she had suffered.

71. On May 11, 2018, Acting President Dunlop gave Mr. Trotter a letter
which falsely accused him of poor work performance.

72. Acting President Dunlop’s May 11, 2018 letter referenced several
alleged events that were months old and pre-dated Mr. Trotter’s complaints of
discrimination and retaliation.

73. Despite Mr. Campanella’s findings, Acting President Dunlop
referenced Dr. Zimmann’s unfounded grievance within his May 11, 2018 letter

and suggested that Mr. Trotter had created a hostile work environment.
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74. Acting President Dunlop’s May 11, 2018 letter closed by
threatening the termination of Mr. Trotter’s employment — “Accordingly, please
be advised that any further inappropriate and unprofessional conduct will
result in disciplinary action, up to and including termination.”

75. On May 16, 2018, Mr. Trotter submitted a supplemental grievance,
which responded in detail to the false statements in Acting President Dunlop’s
May 11, 2018 letter and opposed the additional retaliatory conduct that he had
suffered.

76. On May 16, 2018, the ULS Board named Dr. Richard Green as
Interim President.

77. Qn or about May 18, 2018, Acting President Dunlop announced
that the ULS Board had established a permanent diversity committee to
address long-standing issues of racism at ULS and that the Board would begin
diversity training in September of 2018.

78. Interim President Green started to work for ULS on June 1, 2018.

79. Acting President Dunlop returned to serve on the ULS Board.

80. Significantly, Interim President Green had not been previously
associated with or employed by ULS.

81. Interim President Green moved to Pennsylvania from Tucson,
Arizona.

82. Interim President Green spent the first one hundred days of his
interim presidency meeting with employees and students, visiting both
campuses, and learning about ULS.

83. On June 13, 2018, Mr. Trotter submitted to Interim President
Green a memorandum outlining several proposed strategic initiatives, which, in
part, raised concerns regarding racism at ULS.

84. Mr. Trotter met with Interim President Green on July 18, 2018 to

discuss his role as COO as part of a leadership evaluation.

10
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 14 of 77

85. During the July 18, 2018 meeting, Mr. Trotter discussed the
grievances that he had previously filed and shared Acting President Dunlop’s
May 11, 2018 letter with Interim President Green.

86. On or about July 30, 2018, new Board Chairman Rev. Dr. Peter
Boehringer (“Chairman Boehringer”) forwarded a letter to Mr. Trotter advising
him that his prior complaints of retaliation for opposing racism and ageism at
ULS were unsubstantiated.

87. On or about July 30, 2018, Chairman Boehringer forwarded a
letter to Ms. Johnsten advising her that her prior complaints of retaliation for
opposing racism at ULS were unsubstantiated.

88. Both letters from Chairman Boehringer were placed on the desks
of Mr. Trotter and Ms. Johnsten while they were on vacation and Chairman
Boehringer, Interim President Green and ULS held no discussions with them
concerning the investigation of their grievances.

89. During an August 29, 2018 meeting, Interim President Green
inappropriately responded “Fuck, what the fuck?” to one of Mr. Trotter’s work-
related questions.

90. During the President’s Cabinet meetings with Interim President
Green that took place on September 5, 2018 and September 12, 2018, Mr.
Trotter raised concerns about systemic and other racism at ULS.

91. Interim President Green denied that there was any systemic racism
at ULS and insisted that any racism was merely the actions of individual
actors.

92. In September 2018, Interim President Green announced on more
than one occasion that that there would be no changes in the makeup of ULS’s
administration.

93.. On September 25, 2018, Interim President Green thanked Acting

President Dunlop in writing for providing information to him in connection with

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the transition of the presidency, including “binders filled with information and
documents”.

94. Interim President Green also acknowledged in writing on
September 25, 2018 that ULS was about to issue a statement about “diversity
and anti-racism issues, as well as general discrimination concerns at the
seminary”, in connection with efforts undertaken prior to his June 1, 2018
arrival. |

95. Interim President Green also acknowledged in writing on
September 25, 2018 that CCl’s investigation into discriminatory practices at
ULS had just been completed.

96. On September 26, 2018, Interim President Green presented an
organization chart to the ULS Board, which included Mr. Trotter and Ms.
Johnsten and listed their respective positions.

97. On October 2, 2018, the ULS Board acknowledged in writing that
ULS staff and others had raised concerns regarding racism at ULS.

98. On October 2, 2018, the ULS Board acknowledged that CCI had
just completed its investigation regarding claims of racism at ULS.

99. On October 2, 2018, the ULS Board acknowledged in writing “It
must be publicly stated that during the transition period, former employees of
ULS made comments or acted in ways that were either perceived as racist, or in
fact were racist.”

100. On October 2, 2018, the ULS Board acknowledged in writing that
ULS had delayed in addressing concerns raised about discrimination.

101. On October 3, 2018, Interim President Green presented an
updated organization chart at the President’s Cabinet meeting, which once
again included Mr. Trotter and Ms. Johnsten and listed their respective
positions.

102. On October 8, 2018, without any prior notice, Interim President

Green terminated Mr. Trotter’s ULS employment.

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103. On October 8, 2018, without any prior notice, Interim President
Green also terminated Ms. Johnsten’s ULS employment.

104. Interim President Green claimed that Mr. Trotter and Ms. Johnsten
were being let go as part of a reorganization.

105. The manner in which ULS terminated the employment of Mr.
Trotter and Ms. Johnsten led the ULS community to wrongly believe that they
had engaged in improper and/or illegal behavior.

106. On October 11, 2018, ULS unilaterally forwarded proposed
settlement agreements to Mr. Trotter and Ms. Johnsten, which included
releases of all claims against ULS, Interim President Green, Acting President
Dunlop and others.

107. The Older Workers Benefit Protection Act (“OWBPA”) notices
attached to the proposed settlement agreements were deficient insofar as they
did not provide a description of the eligibility factors used to determine
impacted positions in connection with the alleged reduction in force.

108. On October 15, 2018, just one week after the termination of
plaintiffs’ employment, Acting President Dunlop resigned from the ULS Board.

109. Acting President Dunlop’s resignation letter stated, in part: “As
with all transitions, people in leadership positions can become a lightning rod
for issues and changes that were necessary. It may be wise for them to step
aside when it is appropriate to allow new leadership to continue the work
without the labels of the past. It is time for me to take that step.”

110. On October 19, 2018, which was eleven days after the termination
of Mr. Trotter’s and Ms. Johnsten’s employment, Interim President Green
addressed their discharge for the first time in writing — “Our hope, through this
current restructuring process, is to move towards an organizational structure
that aligns with our strengths, while also taking into consideration current

financial realities.”

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111. Interim President Green also wrote the following on October 19,
2018: “Organizational Changes. Mr. Dennis Trotter, COO, and Pastor Trina
Johnsten, V.P. for Student Services and Enrollment, are no longer serving in
their previous capacities. Going forward, any administrative issues should be
directed to Mr. Scott Ganley, CFO, and any questions related to operations
should be directed to Mr. Kyle Barger. For now, questions related to student
affairs should be directed to Dean Sebastion. We plan to make an offer toa
new Director of Student Services in the near future, who will handle questions
related to student affairs and will report to the Dean.”

112. However, upon information and belief, Interim President Green
privately told ULS staff members that other factors led to the decision to
terminate the employment of Mr. Trotter and Ms. Johnsten and that ULS’s
finances played no part in that decision.

113. At no point did ULS offer the referenced new position of Director of
Student Services to Ms. Johnsten.

114. ULS terminated Mr. Trotter’s employment in retaliation for his
engagement in the various protected activities listed above.

115. ULS terminated Ms. Johnsten’s employment in retaliation for Mr.
Trotter’s engagement in the various protected activities and for her engagement
in the various protected activities, which are both listed above.

116. ULS’s termination of Mr. Trotter’s and Ms. Johnsten’s employment

is suspect for the following reasons:

e ULS terminated the employment of Mr. Trotter without advance
notice to him or the community.

e Mr. Trotter’s work performance was exemplary.

° Mr. Trotter received no written documentation in connection with
his dismissal.

e ULS terminated the employment of Ms. Johnsten without advance
notice to her or the community.

e Ms. Johnsten’s work performance was exemplary.

e Ms. Johnsten received no written documentation in connection

with her dismissal.

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° ULS gave no advance warning of the need for any layoffs or a
reduction in force.
e Interim President Green repeatedly announced in the weeks prior

to the termination of their employment that there would be no
administrative employment changes.

° Mr. Trotter and Ms. Johnsten were the only two ULS employees let
go as part of the alleged reduction in force.

e The reason given for the termination of their employment was
pretextual.

e ULS did not terminate the employment of lesser qualified and
lesser tenured employees that had not engaged in protected
activity.

° Their selection for the alleged reduction in force was flawed to the
extent that ULS did not adequately describe the eligibility factors
utilized to select impacted positions.

e The termination of their employment came less than one week after
the ULS Board acknowledged that ULS employees had engaged in
racist activities.

° The termination of their employment took place less than a week
before Acting President Dunlop resigned from the ULS Board.

117. ULS’s purported reasons for the termination of their employment is
weak and incapable of belief.

118. Lesser qualified and lesser tenured employees that had not
engaged in protected activities assumed Mr. Trotter’s former job responsibilities
and Ms. Johnsten’s former job responsibilities.

119. At or around the time that ULS terminated their employment, there
were several job openings and new hires, including, but not limited to, the
Director of Student Services position referenced above.

120. ULS did not give Mr. Trotter or Ms. Johnsten an opportunity to
transfer or be considered for other job opportunities within ULS.

121. ULS has refused to reinstate or rehire Mr. Trotter.

122. ULS has refused to reinstate or rehire Ms. Johnsten.

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ULS receives plaintiffs’ Administrative Complaints
123. ULS was served with a copy of the November 7, 2018
Administrative Complaints of Mr. Trotter and Ms. Johnsten on or about
November 9, 2018.
124. Upon information and belief, Interim President Green also
contemporaneously received a copy of the November 7, 2018 Administrative

Complaints of Mr. Trotter and Ms. Johnsten.

ULS ignores Ms. Johnsten’s applications for open job positions

125. On December 24, 2018, Ms. Johnsten submitted a complete
application for employment to ULS for an advertised open position of Director
of Student Services.

126. Ms. Johnsten was qualified for the Director of Student Services
position.

127. ULS ignored Ms. Johnsten’s job application for the Director of
Student Services position despite the fact that its website stated that “review of
applications will begin immediately”.

128. On January 10, 2019, Ms. Johnsten sent a follow-up email to ULS
to inquire about the status of her application for the position of Director of
Student Services.

129. Shortly after Ms. Johnsten sent her January 10, 2019 follow-up
email, ULS removed the Director of Student Services job posting from its
website.

130. Upon information and belief, ULS discontinued its search efforts to
fill the Director of Student Services position to avoid having to hire Ms.
Johnsten to fill that role.

131. In early January 2018, ULS announced on its website that it was

seeking to fill a Director of Admissions position.

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132. ULS designated the Director of Admissions position as “Internal
Applicants Only”.

133. Upon information and belief, ULS designated the Director of
Admissions position as “Internal Applicants Only”, in hopes of deterring Ms.
Johnsten from applying for the position.

134. Ms. Johnsten was qualified for the Director of Admissions position.

135. On January 15, 2019, Ms. Johnsten submitted a complete
application for employment to ULS for the Director of Admissions position.

136. ULS refused to consider Ms. Johnsten’s job applications for the
positions of Director of Student Services and Director of Admissions in
retaliation for her engagement in the various protected activities listed above.

137. ULS refused to consider Ms. Johnsten’s job applications for the
positions of Director of Student Services and Director of Admissions in
retaliation for Mr. Trotter’s engagement in the various protected activities listed
above.

138. The retaliatory actions taken against plaintiffs after they raised
concerns about discriminatory conduct would have discouraged a reasonable
employee from complaining about discrimination.

139. ULS did not have and enforce an effective policy against retaliation,
did not promptly or effectively investigate plaintiffs’ claims of retaliation, and
did not take prompt or effective corrective action.

140. Mr. Dunlop and Dr. Green failed to take action in response to the
complaints of Mr. Trotter and Ms. Johnsten.

141. As adirect and proximate result of the wrongful conduct of
defendants, plaintiffs have in the past incurred, and will in the future incur, a
loss of earnings capacity, loss of benefits, pain and suffering, embarrassment,
humiliation, loss of self-esteem, mental anguish, and loss of life’s pleasures,

the full extent of which is not known at this time.

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COUNT I
TITLE VII - RETALIATION & HOSTILE WORK ENVIROMENT
PLAINTIFFS v. ULS

142. Plaintiffs incorporate by reference paragraphs 1 through 141 above
as though fully set forth herein.

143. Title VII prohibits retaliation against employees who oppose
practices made unlawful by Title VII, make charges, or assist or participate in
any Title VII investigations or proceedings.

144. In response to plaintiffs’ protected activities, ULS has retaliated
against plaintiffs in at least the following ways:

e Subjected Mr. Trotter to a hostile work environment;

e Terminated plaintiffs’ ULS employment; and

e Refused to consider Ms. Johnsten’s applications for the positions
of Director of Student Services and Direct of Admissions.

145. On information and belief, ULS’s retaliation against plaintiffs was
willful and intentional.

146. On information and belief, ULS engaged in retaliatory conduct with
malice and/or reckless indifference to plaintiffs’ civil rights protected by federal
law.

147. ULS failed to discharge, suspend, reprimand, or otherwise
discipline Interim President Dunlop and Acting President Green for their
retaliatory conduct.

148. As a direct and proximate result of ULS’s retaliatory violations of
Title VII (42 U.S.C. § 2000e-3), plaintiffs have suffered and will continue to
suffer loss of income, pension and fringe benefits, bonuses, retirement and
welfare benefits provided by ULS to its employees, physical pain and suffering,
personal humiliation, embarrassment, disruption of their personal and

professional life, and loss of enjoyment of the ordinary pleasures of everyday

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life.
149. To remedy the violations of the rights of plaintiffs secured by Title
VII, plaintiffs request that the Court award them the relief prayed for below.

COUNT II
SECTION 1981 -— RETALIATION & HOSTILE WORK ENVIRONMENT
PLAINTIFFS v. ALL DEFENDANTS

150. Plaintiffs incorporate by reference paragraphs 1 through 149 above
as though fully set forth herein.

151. Section 1981 prohibits retaliation against employees who complain
about race discrimination.

152. In response to plaintiffs’ protected activities, defendants have
retaliated against plaintiffs in at least the following ways:

e Subjected Mr. Trotter to a hostile work environment;

e ULS and Interim President Green terminated plaintiffs’ ULS
employment; and

e ULS and Interim President Green refused to consider Ms.
Johnsten’s applications for the positions of Director of Student
Services and Direct of Admissions.

153. On information and belief, defendants’ retaliation against plaintiffs
was willful and intentional.

154. On information and belief, defendants engaged in retaliatory
conduct with malice and/or reckless indifference to plaintiff's civil rights
protected by federal law.

155. ULS failed to discharge, suspend, reprimand, or otherwise
discipline Interim President Green and Acting President Dunlop for their
retaliatory conduct.

156. As a direct and proximate result of defendants’ retaliatory

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violations of Section 1981 (42 U.S.C. § 1981), plaintiffs have suffered and will
continue to suffer loss of income, pension and fringe benefits, bonuses,
retirement and welfare benefits provided by ULS to its employees, physical pain
and suffering, personal humiliation, embarrassment, disruption of their
personal and professional life, and loss of enjoyment of the ordinary pleasures
of everyday life.

157. To remedy the violations of the rights of plaintiffs secured by
Section 1981, plaintiffs request that the Court award them the relief prayed for

below.

COUNT II
ADEA ~ RETALIATION & HOSTILE WORK ENVIRONMENT
PLAINTIFFS v. ULS

158. Plaintiffs incorporate by reference paragraphs 1 through 157 above
as though fully set forth herein.

159. The ADEA prohibits retaliation against employees who oppose
practices made unlawful by the ADEA, make charges, or assist or participate in
any ADEA investigation or proceeding.

160. In response to plaintiffs’ protected activities under the ADEA, ULS
has retaliated against plaintiffs in at least the following ways:

e Subjected Mr. Trotter to a hostile work environment;

e Terminated plaintiffs’ ULS employment; and

e Refused to consider Ms. Johnsten’s applications for the positions
of Director of Student Services and Direct of Admissions.

161. On information and belief, ULS’s retaliation against plaintiffs was
willful and intentional.

162. On information and belief, ULS engaged in retaliatory conduct with

malice and/or reckless indifference to plaintiffs’ civil rights protected by federal

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law.

163. ULS failed to discharge, suspend, reprimand, or otherwise
discipline Interim President Dunlop and Acting President Green for their
retaliatory conduct.

164. As a direct and proximate result of ULS’s retaliatory violations of
the ADEA (29 U.S.C. § 623(d)), plaintiffs have suffered and will continue to
suffer loss of income, pension and fringe benefits, bonuses, retirement and
welfare benefits provided by ULS to its employees, physical pain and suffering,
personal humiliation, embarrassment, disruption of their personal and
professional life, and loss of enjoyment of the ordinary pleasures of everyday
life.

165. To remedy the violations of the rights of plaintiffs secured by the
ADEA, plaintiffs request that the Court award them the relief prayed for below.

COUNT IV
PHRA - RETALIATION & HOSTILE WORK ENVIRONMENT
PLAINTIFFS v. ALL DEFENDANTS

166. Plaintiffs incorporate by reference paragraphs 1 through 165 above
as though fully set forth herein.

167. The PHRA prohibits retaliation against employees who oppose
practices made unlawful by the PHRA, make charges, or assist or participate in
any PHRA investigation or proceeding.

168. In response to plaintiffs’ protected activities, defendants have
retaliated against plaintiffs in at least the following ways:

e Subjected Mr. Trotter to a hostile work environment; and
¢ ULS and Interim President Green terminated plaintiffs’ ULS
employment.

e ULS and Interim President Green refused to consider Ms.

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Johnsten’s applications for the positions of Director of Student
Services and Direct of Admissions.

169. On information and belief, defendants’ retaliation against plaintiff
was willful and intentional.

170. On information and belief, defendants engaged in retaliatory
conduct with malice and/or reckless indifference to plaintiffs civil rights
protected by the PHRA.

171. ULS failed to discharge, suspend, reprimand, or otherwise
discipline Interim President Green and Acting President Dunlop for their
retaliatory conduct.

172. Acting President Dunlop and Interim President Green aided and
abetted ULS’s retaliatory conduct and retaliated against Mr. Trotter and Ms.
Johnsten.

173. As a direct and proximate result of defendants’ retaliatory
violations of the PHRA (43 P.S. § 955(d)), plaintiffs have suffered and will
continue to suffer loss of income, pension and fringe benefits, bonuses,
retirement and welfare benefits provided by ULS to its employees, physical pain
and suffering, personal humiliation, embarrassment, disruption of his personal
and professional life, and loss of enjoyment of the ordinary pleasures of
everyday life.

174. To remedy the violations of the rights of plaintiffs secured by the
PHRA, plaintiffs request that the Court award them the relief prayed for below

COUNT V
PFPO -— RETALIATION & HOSTILE WORK ENVIRONMENT
PLAINTIFF v. ALL DEFENDANTS

175. Plaintiffs incorporate by reference paragraphs 1 through 174 above
as though fully set forth herein.

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176. The PFPO prohibits retaliation against employees who oppose
practices made unlawful by the PFPO, make charges, or assist or participate in
any PFPO investigation or proceeding.

177. In response to Plaintiffs’ protected activities under the PFPO,
defendants have retaliated against plaintiffs in at least the following ways:

e Subjected Mr. Trotter to a hostile work environment;

e ULS and Interim President Green terminated plaintiffs’ ULS
employment; and

e ULS and Interim President Green refused to consider Ms.
Johnsten’s applications for the positions of Director of Student
Services and Direct of Admissions

178. On information and belief, defendants’ retaliation against plaintiffs
was willful and intentional

179. On information and belief, defendants engaged in retaliatory
conduct with malice and/or reckless indifference to plaintiffs’ rights protected
by the PFPO.

180. ULS failed to discharge, suspend, reprimand, or otherwise
discipline Acting President Dunlop or Interim President Green for their
retaliatory conduct.

181. Acting President Dunlop and Interim President Green aided and
abetted ULS’s retaliatory conduct and retaliated against Mr. Trotter and Ms.
Johnsten

182. As a direct and proximate result of defendants’ retaliatory
violations of the PFPO (§ 9-1103), plaintiffs have suffered and will continue to
suffer loss of income, pension and fringe benefits, bonuses, retirement and
welfare benefits provided by ULS to its employees, physical pain and suffering,
personal humiliation, embarrassment, disruption of his personal and

professional life, and loss of enjoyment of the ordinary pleasures of everyday
life.

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RELIEF

WHEREFORE, plaintiffs seek damages and legal and equitable
relief in connection with defendants’ improper conduct, and specifically
pray that the Court grant the following relief to the plaintiffs by:

(a) declaring the acts and practices complained of herein to be in
violation of Title VII;

(b) declaring the acts and practices complained of herein to be in
violation of Section 1981;

(c) declaring the acts and practices complained of herein to be in
violation of the ADEA;

{d) declaring the acts and practices complained of herein to be in
violation of the PHRA;

(e) declaring the acts and practices complained of herein to be in
violation of the PFPO;

{f) enjoining and permanently restraining the violations complained
of herein;

(g) entering judgment against the defendants and in favor of the
plaintiffs in amounts to be determined;

(h) awarding compensatory damages to make the plaintiffs whole
for all lost earning, earning capacity and benefits, past and future, which
plaintiffs have suffered or will suffer as a result of defendants’ improper
conduct;

(i) awarding plaintiffs reinstatement or, in lieu thereof, front pay;

(j) awarding compensatory damages to plaintiffs for past and future
pain and suffering, emotional upset, mental anguish, humiliation, and
loss of enjoyment of the ordinary pleasures of everyday life, which
plaintiffs have suffered or will suffer as a result of defendants’ improper

conduct;

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(k) awarding punitive damages to plaintiffs under Title VII, Section
1981 and the PFPO;

(l) awarding liquidated damages to plaintiffs under the ADEA;

(m) awarding plaintiffs such other damages as are appropriate
under Title VII, Section 1981, the ADEA, the PHRA and the PFPO;

(n}) awarding plaintiffs the costs of suit, expert fees and other
disbursements, and pre- and post-judgment interest, and reasonable
counsel fees; and

(o) granting such other and further relief as this Court may deem
just, proper, or equitable including other equitable and injunctive relief

providing restitution for past violations and preventing future violations.

Freemann Law Offices
A Professional Corporation

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Cby: Scott Bennett Freemann, Esq.
Attorney ID No. 82030
3101 W. Glenwood Ave., Suite G103
Philadelphia, PA 19121
(215) 564-7400 (Telephone)
(215) 564-7406 (Facsimile)

Attorneys for Plaintiffs

Dated: February 3, 2020

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EXHIBIT “1”
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EEOC Form & (11/09)

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA
Statement and other information before completing this form.
[x] eeoc
Pennsylvania Human Relations Commission and and EEOC
Philadelphia Commission on Human Relations
State or local Agency. if any
Name (indicate Mr.. Ms., Mrs.) Home Phone (incl, Area Code) Date of Birth
Mir. Dennis Trotter (402) 984-4313 4/29/61

 

 

 

Street Address City, State and ZIP Code

281‘Hermitage Street, Philadelphia, PA 19127

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

Name No. Employoos, Members Phone No. (Include Area Cade)

United Lutheran Seminary >20 (717) 338-3000

Street Address City. State and ZIP Code

7301 Germantown Avenue, Philadelphia, PA 19119

Name No Employees. Members Phone No (include Area Code)

Street Address City, State and ZIP Cade

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latesi

[| RACE [| COLOR [ ] SEX [ ] RELIGION [—] NATIONAL ORIGIN 10/8/18

RETALIATION [| AGE [| DISABILITY [| GENETIC INFORMATION

[| OTHER (Specity) CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed. attach extra sheel(s)):

x

> cPledge see the attached complaint, which is to be dual filed with the Pennsylvania Human Relation
: « «Commission.

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X | want this charge filed with both the EEOC and the State or tocal Agency, if | NOTARY ~ When necessary for State and Local Agency Requirements

any. | will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

 

 

 

procedures. . | swear or affirm that | have read the above charge and that if is true to
| declare under penalty of perjury that the above is true;and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT
>
’ SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
1/7/18 le (month, day, year

 

 

q
Date Charging Party Signature

 

 

 
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EEQC Form 5 (11/09)

 

 

 

Cc HARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA
Statement and other information before completing this form.
[x] EEoc
Pennsylvania Human Relations Commission and and EEOC

Philadelphia Commission on Human Relations
Stale or focal Agency, if any

 

Name (indicate Mr., Ms., Mrs.} Home Phone (incl Area Code) Date of Birth
Ms. Christina Johnsten (402) 984-4306 3/23/67
Street Addr, ao City, State and ZIP Code

281’Hermitage Street, Philadelphia, PA 19127

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

 

Name No Emptoyeos, Mambers Phone No. (include Area Code)
United Lutheran Seminary >20 (717) 338-3000
Street Address City, State and ZIP Code

7301 Germantown Avenue, Philadelphia, PA 19119
Name No. Employees, Members Phone No. (include Area Cade)
Street Address City, State and ZIP Cade

 

DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [] COLOR [ ] SEX [] RELIGION [] NATIONAL ORIGIN 10/8/18

[x] RETALIATION [| AGE [| CISABILITY [_ ] GENETIC INFORMATION

[| OTHER (Specify) [x] CONTINUING ACTION

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet{s)):

DISCRIMINATION BASED ON (Check appropiate box(es).)

 

 

Please see the attached complaint, which is to be dual filed with the Pennsylvania Human Relation

Commission.

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X i want this charge filed with both the EEOC and the State or focal Agency. if NOTARY ~ When necessary for State and Local Agency Requirements

any. | will advise the agencies if | change my address or phone number and | will

 

cooperate fully with them in the processing of my charge in accordance with their
procedures. | swear or affirm that | have read the above charge and that it is true to

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
11/7/18 dW CH, (month, day, year)

Date cra 9 Paty Signature

 

 

 

 
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Equal Employment Opportunity Commission
Philadelphia District Office

 

Dennis Trotter
and

Christina Johnsten, :
Complainants, : EEOC Case No.

Vv.

United Lutheran Seminary,
Respondent.

 

COMPLAINT
1. Respondent United Lutheran Seminary (“ULS’) improperly
subjected Mr. Dennis Trotter (“Mr. Trotter”) to a retaliatory hostile work
environment and retaliated against Mr. Trotter and Christina Johnsten
(“Ms. Johnsten”) in violation of Title VII of the Civil Rights Acts of 1964,
42 U.S.C. § 2000e, et seq. (“Title VII") and the Age Discrimination in
Employment Act of 1967, 29 U.S.C. § 621, et seq. (“ADEA”), as set forth
herein. !
PARTIES
2. The complainants herein are:
Mr. Dennis Trotter
Ms. Christina Johnsten

281A Hermitage Street
Philadelphia, PA 19127

 

‘ ULS’s conduct also violates the Pennsylvania Human Relation Act, as amended, 43 P.S. § 951. ef scq..
(“PHRA”) and the Philadelphia Fair Practices Ordinance, as amended, § 9-1 100, ef seq., (‘PFPO"). and
James Dunlop (“Acting President Dunlop”) and Dr. Richard Green (“Interim President Green”) have aided
and abetted ULS's retaliatory conduct and retaliated against Mr. Trotter and Ms. Johnsten in violation of
the PHRA and the PFPO. This complaint is being dual filed with the Pennsylvania Human Relations
Commission (“PHRC”).
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3. The respondent herein is:
United Lutheran Seminary
7301 Germantown Avenue
Philadelphia, PA 19127

4. Mr. Trotter and Ms. Johnsten are married to one another.

UNDERLYING FACTS

Respondent United Lutheran Seminary

5. ULS is a graduate professional school that provides theological
educational services.

6. ULS was formed on July 1, 2017, via a consolidation of two
Lutheran seminaries: Lutheran Theological Seminary at
Philadelphia (“LTSP”) and Lutheran Theological Seminary at
Gettysburg (“LTSG”).

7. ULS employs well over fifty full-time employees.

ULS employment
8. Prior to the consolidation, Mr. Trotter was first employed by
LTSP in 2015 as its Vice President for Advancement. Mr.
Trotter’s resume is attached as Exhibit “A”.
9. Prior to the consolidation, Ms. Johnsten was first employed by
LTSP in 2015 as its Vice President for Student Vocation and
Formation. Ms. Johnsten’s resume is attached as Exhibit “B’.

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10. In connection with the consolidation of LTSP and LTSG, Mr.
Trotter was promoted to the position of Senior Vice President for
Advancement for ULS.

11. In connection with the consolidation of LTSP and LTSG, Ms.
Johnsten was promoted to the position of Vice President of
Student Services and Enrollment. The job description for the
Vice President of Student Services and Enrollment position is
attached as Exhibit “C”.

12. On November 1, 2017, Mr. Trotter was promoted to the
position of Chief Operating Officer (“COO”). The job description
for the COO position is attached as Exhibit “D”.

13. Mr. Trotter’s annual salary as COO was $125,000 and he
received valuable benefits, including, but not limited to, health
insurance and retirement contributions equal to ten percent of
his annual salary.

14. Ms. Johnsten’s annual salary as Vice President of Student
Services and Enrollment was $80,000 and she received valuable
benefits, including, but not limited to, health insurance and

retirement contributions equal to ten percent of her annual

salary.
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Protected Activities and Resulting Retaliation

15. On March 14, 2018, ULS removed its first President, Dr.
Theresa F. Latini, and James Dunlop became the Acting
President of ULS.

16. Prior to becoming Acting President, James Dunlop had
served on the ULS Board and was member of the Board's
Executive Committee.

17. On March 16, 2018, Mr. Trotter met with Acting President
Dunlop to discuss the status of operations under his oversight
as COO. The briefing points that Mr. Trotter used at the March
16, 2018 meeting are attached as Exhibit “E”.

18. During the March 16, 2018 meeting with Acting President
Dunlop, Mr. Trotter raised concerns regarding several race and
age based discriminatory events at ULS, including, but not
limited to, Acting President Dunlop’s prior reference to the
termination of President Latini’s employment as a “lynching”.

19. During the March 16, 2018 meeting with Acting President
Dunlop, Mr. Trotter requested that ULS investigate these
discriminatory events.

20. On March 17, 2018, Mr. Trotter sent a follow-up email to
Acting President Dunlop, which, in part, reiterated his concerns
regarding acts of racism and ageism at ULS and asked Acting

President Dunlop to initiate an investigation. See Exhibit “F’.
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21. Shortly after the March 16, 2018 meeting and the
submission of his March 17, 2018 email, ULS subjected Mr.
Trotter to a sustained campaign of antagonism and a retaliatory
hostile work environment.

22. Following the March 16, 2018 meeting and the submission
of his March 17, 2018 email, Acting President Dunlop’s
demeanor towards Mr. Trotter changed.

23. On March 27, 2018, without any advance warning and just
ten minutes before the start of the Philadelphia Advancement
Team meeting, Acting President Dunlop told Mr. Trotter that he
would no longer have responsibility for advancement related job
responsibilities, including, but not limited to, all church and
alumni relations job responsibilities, and that such
responsibilities had been assigned to Dr. Angela Zimmann (“Dr.
Zimmann”), a junior employee with next to no experience within
those areas.

24. On March 27, 2018, Acting President Dunlop also told Mr.
Trotter that he would not be permitted to participate in the
Philadelphia Advancement Team staff meeting taking place that
day, although the attending staff members reported directly to
Mr. Trotter.

25. Upon information and belief, at the March 27, 2018 meeting

with the Philadelphia Advancement Team, Acting President
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Dunlop stated “we are not going back to Egypt to eat
watermelon” in reference to both the claims of racism related to
a letter written by the Gettysburg Advancement staff and a
proposed meeting with African-American students scheduled to
take place later than afternoon.

26. On March 27, 2018, Acting President Dunlop told Mr. Trotter
in a second meeting that he was not opposed to the idea of Mr.
Trotter no longer working at ULS and asked, “What that would
look like?”

27. On April 2, 2018, Mr. Trotter was asked to submit to an
interview on April 6, 2018 in connection with a grievance filed
by Dr. Zimmann that falsely claimed that Mr. Trotter had
created an unsafe and hostile work environment.

28. Upon information and belief, Acting President Dunlop
immediately engaged an outside consultant, John Campanella
of the Lyons Company, to investigate Ms. Zimmann’s grievance.

29. On April 4, 2018, Mr. Trotter submitted a grievance to ULS,
which reiterated his concerns regarding various race and age
based discriminatory practices at ULS and memorialized the
retaliation he had suffered. See Exhibit “G’.

30. Mr. Trotter’s April 4, 2018 grievance once again asked ULS
to initiate an investigation into discriminatory practices at ULS

and to cease retaliating against him. Id.
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31. On April 6, 2018, Mr. Trotter met with Mr. Campanella in
connection with the investigation of Dr. Zimmann’s grievance.
32. On or about April 9, 2018, Mr. Campanella forwarded a
letter to Acting President Dunlop, which confirmed that Mr.
Trotter had not created a hostile work environment or engaged

in any unlawful behavior. See Exhibit “H”.

33. Despite multiple requests, Acting President Dunlop refused
to give Mr. Trotter a copy of Mr. Campanella’s April 9, 2018
determination or confirm the results of that investigation in
writing.

34. In April 2018, Acting President Dunlop excluded Mr. Trotter
from participating in the hiring of a major gift officer for ULS.
35. On April 13, 2018, Ms. Johnsten submitted a grievance,
which detailed, among other things, the retaliation she had

suffered for objecting to racism at ULS.2 See Exhibit “I”.

36. ULS and Acting President Dunlop refused to timely address
either grievance.

37. On April 13, 2018, Acting President Dunlop apologized in
writing for his past inappropriate actions by stating: “On a
personal note, I have been called to task for some of my own

comments and use of particular terms that have caused pain

 

? Ms. Johnsten’s grievance also raised concerns with ULS’s failure to comply with state and federal
regulations with respect to admissions and financial aid operations and the use of restricted donor funds at
the Gettysburg campus.
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for people. I sincerely apologize for those things that I have said
or left unsaid.” See Exhibit “J”, at p. 4.

38. On April 20, 2018, Mr. Trotter once again asked ULS to
investigate his grievance. See Exhibit “K”.

39. On April 20, 2018, Mr. Trotter also asked for a copy of Mr.
Campanella’s findings regarding Dr. Zimmann’s unfounded
grievance. Id.

40. On about April 20, 2018, Acting President Dunlop appointed
himself and five other individuals to serve on an interview team
to find and select his replacement. See Exhibit “L’, at pp. 1-2.

41. Acting President Dunlop did not ask Mr. Trotter to join the
interview team as would be normative for an organization’s
coo.

42. However, Acting President Dunlop asked Dr. Zimmann to
serve on the interview team.

43. On May 2, 2018, ULS finally engaged Andrea Merrick, Esq.
of CCI Consulting to address the grievances filed by Mr. Trotter
and Ms. Johnsten.

44. ULS also engaged Ms. Merrick to address other complaints of
race discrimination that had been raised by students and other

staff.
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45. Mr. Trotter met with Ms. Merrick on May 7, 2018 and May
21, 2018 and discussed racism and ageism at ULS and the
retaliation he had suffered.

46. Ms. Johnsten met with Ms. Merrick on May 7, 2018 and May
15, 2018 and discussed racism at ULS and the retaliation she
had suffered.

47. On May 11, 2018, Acting President Dunlop gave Mr. Trotter
a letter which falsely accused him of poor work performance.
See Exhibit “M”.

48. Acting President Dunlop’s May 11, 2018 letter referenced
several alleged events that were months old and pre-dated Mr.
Trotter’s complaints of discrimination and retaliation. Id.

49. Despite Mr. Campanella’s findings, Acting President Dunlop
continued to reference Dr. Zimmann’s false grievance within his
May 11, 2018 letter and suggested that Mr. Trotter had created
a hostile work environment. Id.

50. Acting President Dunlop’s May 11, 2018 letter closed by
threatening the termination of Mr. Trotter’s employment —
“Accordingly, please be advised that any further inappropriate
and unprofessional conduct will result in disciplinary action, up
to and including termination.” Id.

51. On May 16, 2018, Mr. Trotter submitted a supplemental

grievance, which responded in detail to the false statements in
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Acting President Dunlop’s May 11, 2018 letter and opposed the
additional retaliatory conduct that he had suffered. See Exhibit
“N”.

52. On May 16, 2018, the ULS Board named Dr. Richard Green
as Interim President. See Exhibit “O”, at p. 1.

53. On or about May 18, 2018, Acting President Dunlop
announced that the ULS Board had established a permanent
diversity committee to address long-standing issues of racism at
ULS and that the Board would begin diversity training in
September of 2018.3 Id., at p. 2.

54. Interim President Green started to work for ULS on June 1,
2018. Id., at p. 1.

55. Acting President Dunlop returned to serve on the ULS Board.

56. Significantly, Interim President Green had not been
previously associated with or employed by ULS.

57. Interim President Green moved to Pennsylvania from
Tucson, Arizona.

58. Interim President Green spent the first one hundred days of
his presidency meeting with employees and students, visiting
both campuses, and learning about ULS.

59. On June 13, 2018, Mr. Trotter submitted to Interim

President Green a memorandum outlining several proposed

 

3 Diversity training for the Board has been subsequently rescheduled to first take place in January 2019.

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strategic initiatives, which, in part, raised concerns regarding
racism at ULS. See Exhibit “P’.

60. Mr. Trotter met with Interim President Green on July 18,
2018 to discuss his role as COO as part of a leadership
evaluation.

61. During the July 18, 2018 meeting, Mr. Trotter discussed the
grievances that he had previously filed and shared Acting
President Dunlop’s May 11, 2018 letter with Interim President
Green.

62. On or about July 30, 2018, new Board Chairman Rev. Dr.
Peter Boehringer (“Chairman Boehringer”) forwarded a letter to
Mr. Trotter advising him that his prior complaints of retaliation
for opposing racism and ageism at ULS were unsubstantiated.
See Exhibit “Q’.

63. On or about July 30, 2017, Chairman Boehringer forwarded
a letter to Ms. Johnsten advising her that her prior complaints
of retaliation for opposing racism at ULS were unsubstantiated.
See Exhibit “R’.

64. Both letters from Chairman Boehringer were placed on the
desks of Mr. Trotter and Ms. Johnsten while they were on
vacation and Interim President Green and ULS held no
subsequent discussion with them concerning the investigation

of their grievances.
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65. During an August 29, 2018 meeting, Interim President
Green inappropriately responded “Fuck, what the fuck?” to one
of Mr. Trotter’s work-related questions.

66. During the President’s Cabinet meetings with Interim
President Green that took place on September 5, 2018 and
September 12, 2018, Mr. Trotter raised concerns about
systemic and other racism at ULS.

67. Interim President Green denied that there was any systemic
racism at ULS and insisted that any racism was merely the
actions of individual actors.

68. In September 2018, Interim President Green announced on
more than one occasion that that there would be no changes in
the makeup of ULS’s administration.

69. On September 25, 2018, Interim President Green thanked
Acting President Dunlop in writing for providing information to
him in connection with the transition of the presidency,
including “binders filled with information and documents’. See
Exhibit “S”, at p. 1.

70. Interim President Green also acknowledged in writing on
September 25, 2018 that ULS was about to issue a statement
about “diversity and anti-racism issues, as well as general
discrimination concerns at the seminary”, in connection with

efforts undertaken prior to his June 1, 2018 arrival. Id., at p. 2.

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71. Interim President Green also acknowledged in writing that
CCI’s investigation into discriminatory practices at ULS had just
been completed. Id., at p. 3.

72. On September 26, 2018, Interim President Green presented
an organization chart to the ULS Board, which included Mr.
Trotter and Ms. Johnsten and listed their respective positions.
See Exhibit “T”.

73. On October 2, 2018, the ULS Board acknowledged in writing
that ULS staff and others had raised concerns regarding racism
at ULS. See Exhibit “U”, at p. 3.

74. On October 2, 2018, the ULS Board acknowledged that CCI
had just completed its investigation regarding claims of racism
at ULS. Id.

75. On October 2, 2018, the ULS Board acknowledged in writing
“It must be publicly stated that during the transition
period, former employees of ULS made comments or acted
in ways that were either perceived as racist, or in fact were
racist.” id. (emphasis added).

76. On October 2, 2018, the ULS Board acknowledged in writing
that ULS had delayed in addressing concerns raised about
discrimination. Id.

77. On October 3, 2018, Interim President Green presented an

updated organization chart at the President’s Cabinet meeting,

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which once again included Mr. Trotter and Ms. Johnsten and
listed their respective positions. See Exhibit “V”.

78. On October 8, 2018, without any prior notice, Interim
President Green terminated Mr. Trotter’s ULS employment.

79. On October 8, 2018, without any prior notice, Interim
President Green also terminated Ms. Johnsten’s ULS
employment.

80. Interim President Green claimed that Mr. Trotter and Ms.
Johnsten were being let go as part of a reorganization.

81. The manner in which ULS terminated the employment of Mr.
Trotter and Ms. Johnsten led the ULS community to wrongly
believe that they had engaged in improper and/or illegal
behavior.

82. On October 11, 2018, ULS forwarded proposed settlement
agreements to Mr. Trotter and Ms. Johnsten, which included
releases of all claims against ULS, Interim President Green,
Acting President Dunlop and others. See Exhibit “W”.

83. The Older Workers Benefit Protection Act (“OWBPA”) notices
attached to the proposed settlement agreements were deficient
in that they did not provide a description of the eligibility factors

used to determine impacted positions. Id.

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84. On October 15, 2018, just one week after the termination of
their employment, Acting President Dunlop resigned from the
ULS Board. See Exhibit “X”.

85. Acting President Dunlop’s resignation letter stated, in part:
“As with all transitions, people in leadership positions can
become a lightning rod for issues and changes that were
necessary. It may be wise for them to step aside when it is
appropriate to allow new leadership to continue the work
without the labels of the past. It is time for me to take that
step.” Id.

86. On October 19, 2018, which was eleven days after the
termination of Mr. Trotter’s and Ms. Johnsten’s employment,
Interim President Green addressed their discharge for the first
time in writing - “Our hope, through this current restructuring
process, is to move towards an organizational structure that
aligns with our strengths, while also taking into consideration
current financial realities.” See Exhibit “Y”, at p. 1.

87. Interim President Green also wrote: “Organizational
Changes. Mr. Dennis Trotter, COO, and Pastor Trina Johnsten,
V.P. for Student Services and Enrollment, are no longer serving
in their previous capacities. Going forward, any administrative
issues should be directed to Mr. Scott Ganley, CFO, and any

questions related to operations should be directed to Mr. Kyle

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Barger. For now, questions related to student affairs should be
directed to Dean Sebastion. We plan to make an offer to a new
Director of Student Services in the near future, who will handle
questions related to student affairs and will report to the Dean.”
Id., at p. 2.

88. However, upon information and belief, Interim President
Green privately told ULS staff members that other factors led to
the decision to terminate the employment of Mr. Trotter and Ms.
Johnsten and that ULS’s finances played no part in that
decision.

89. At no point did ULS offer the referenced new position of
Director of Student Services to Ms. Johnsten.

90. ULS terminated Mr. Trotter’s employment in retaliation for
his engagement in the various protected activities listed above.

91. ULS terminated Ms. Johnsten’s employment in retaliation for
Mr. Trotter’s engagement in the various protected activities and
for her engagement in the various protected activities, which are
both listed above.

92. ULS’s termination of Mr. Trotter’s and Ms. Johnsten’s
employment is suspect for the following reasons:

e ULS terminated the employment of Mr. Trotter without
advance notice to him or the community.
Mr. Trotter’s work performance was exemplary.

Mr. Trotter received no written documentation in connection
with his dismissal.

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93.

94.

95.

ULS terminated the employment of Ms. Johnsten without
advance notice to her or the community.

Ms. Johnsten’s work performance was exemplary.

Ms. Johnsten received no written documentation in
connection with her dismissal.

ULS gave no advance warning of the need for any layoffs or a
reduction in force.

Interim President Green repeatedly announced in the weeks
prior to the termination of their employment that there
would be no administrative employment changes.

Mr. Trotter and Ms. Johnsten were the only two ULS
employees let go as part of this alleged reduction in force.
The reason given for the termination of their employment
was pretextual.

ULS did not terminate the employment of lesser qualified
and lesser tenured employees that had not engaged in
protected activity.

Their selection for the alleged reduction in force was flawed
to the extent that ULS did not adequately describe the
eligibility factors utilized to select impacted positions.

The termination of their employment came less than one
week after the ULS Board acknowledged that ULS employees
had engaged in racist activities.

The termination of their employment took place less than a
week before Acting President Dunlop resigned from the ULS
Board.

ULS’s purported reason for the termination of their

employment is weak, flimsy and incapable of belief.

ULS retained lesser qualified and lesser tenured employees

that had not engaged in protected activities.

Lesser qualified and lesser tenured employees that had not

engaged in protected activities have assumed Mr. Trotter’s
former job responsibilities and Ms. Johnsten’s former job

responsibilities.

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96. At or around the time that ULS terminated their
employment, there were several job openings and new hires,
including, but not limited to, the Director of Student Services
position referenced above.

97. ULS did not give Mr. Trotter or Ms. Johnsten an opportunity
to transfer or be considered for other job opportunities within
ULS.

98. ULS has refused to reinstate or rehire Mr. Trotter.

99, ULS has refused to reinstate or rehire Ms. Johnsten.

100. ULS has refused to return Mr. Trotter’s and Ms. Johnsten’s
personal belongings.

101. Acting President Dunlop and Interim President Green aided
and abetted ULS’s retaliatory conduct and retaliated against Mr.

Trotter and Ms. Johnsten.

Effects on Mr. Trotter and Ms. Johnsten
102. As a result of ULS’s unlawful conduct, Mr. Trotter and Ms.
Johnsten have suffered and continue to suffer significant
emotional distress and pecuniary losses, including, but not
limited to, a loss of earnings and/or earning capacity, loss of
benefits, pain and suffering, embarrassment, humiliation, loss
of reputation, loss of self-esteem, mental anguish and loss of

life’s everyday pleasures, and other nonpecuniary losses.

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COUNT ONE
RETALIATION
TITLE VII AND THE ADEA
MR. TROTTER & MS. JOHNSTEN V. ULS

103. The averments of this Charge are incorporated into this
Count by reference, as if they were set out in full herein.

104. Section 704(a) of Title VII provides: “It shall be an unlawful
employment practice for an employer to discriminate against
any of his employees...because he has opposed any practice
made an unlawful employment practice by this subchapter, or
because he made a charge, testified, assisted or participated in
any manner in an investigation, proceeding, or hearing under
this subchapter.”

105. Section 623(d) of the ADEA provides: “It shall be unlawful for
an employer to discriminate against any of his
employees...because such individual...has opposed any practice
made unlawful by this section, or because such individual...has
made a charge, testified, assisted, or participated in any
manner in an investigation, proceeding or litigation under this
Act.”

106. The above-listed retaliatory conduct that ULS subjected Mr.
Trotter to was because of his engagement in the protective

activities listed above.
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107. The above-listed retaliatory conduct that ULS subjected Ms.
Johnsten to was because of Mr. Trotter’s engagement in the
protective activities listed above.

108. The above-listed retaliatory conduct that ULS subjected Ms.
Johnsten to was because of her engagement in the protective
activities listed above.

109. ULS’s actions were willful and taken with malice or reckless
indifference to the rights of Mr. Trotter and Ms. Johnsten.

110. ULS, by the above cited improper and unlawful actions,
violated Title VII and the ADEA, which both make it illegal to
retaliate against an employee for engaging in protected

activities.4

COUNT TWO
RETALIATORY HOSTILE WORK ENVIRONMENT
TITLE VII AND THE ADEA
MR. TROTTER V. ULS
111. The averments of this Charge are incorporated into this
Count by reference, as if they were set out in full herein.
112. Title VII and the ADEA both prohibit subjecting employees to

a retaliatory hostile work environment.

 

+ ULS, Acting President Dunlop and Interim President Green, by the above cited improper and unlawful
actions, also violated the PHRA and the PFPO.

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113. As discussed above, ULS subjected Mr. Trotter to a
retaliatory hostile work environment.

114. ULS'’s actions were willful and taken with malice or reckless
indifference to Mr. Trotter’s rights

115. ULS, by the above cited improper and unlawful actions,
violated Title VII and the ADEA, which both make it illegal to
subject an employee to a hostile work environment in retaliation

for engaging in protected activities.5

DUAL FILING

116. This complaint is being dual filed with the PHRC.

 

5 ULS, Acting President Duntop and Interim President Green, by the above cited improper and unlawful
actions, also violated the PHRA and the PFPO.

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PRAYER FOR RELIEF

WHEREFORE, Mr. Trotter and Ms. Johnsten request that ULS be
held liable for retaliation and retaliatory hostile work environment under
Title VII and the ADEA, and that United Lutheran Seminary be required
to provide Mr. Trotter and Ms. Johnsten with their lost wages, actual
damages, incidental damages, reinstatement or front pay in lieu thereof,
compensatory damages, punitive damages, liquidated damages, damages
caused by emotional pain, suffering, inconvenience, mental anguish, loss
of reputation, loss of enjoyment of life, and other nonpecuniary losses,

and all other appropriate remedies under Title VII and the ADEA.

 

* Mr. Trotter and Ms. Johnsten also pray that ULS, Acting President Dunlop and Interim President Green
be required to provide all pertinent remedies under the PHRA and the PFPO.

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VERIFICATION

I hereby verify that the statements contained in this complaint are
true and correct to the best of my knowledge, information and belief. I
understand that false statements herein are made subject to the
penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to
authorities.

Date: November 7, 2018

 

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VERIFICATION

I hereby verify that the statements contained in this complaint are
true and correct to the best of my knowledge, information and belief. I
understand that false statements herein are made subject to the
penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to
authorities.

Date: November 7, 2018
Christina J sten

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INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION

Dennis Trotter and Christina Johnsten v. United Lutheran Seminary

EEOC No.:

 

You have the right to file this charge of discrimination with the Pennsylvania Human Relations
Commission (PHRC) under the Pennsylvania Human Relations Act. Filing your charge with
PHRC protects your state rights, especially since there may be circumstances in which state and
federal laws and procedures vary in a manner which would affect the outcome of your case.

Complaints filed with the PHRC must be filed within 180 days of the act(s) which you believe
are unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it will
be dismissed.

If you want your charge filed with the PHRC, including this form as part of your EEOC charge.
with your signature under the verification below, will constitute filing with the PHRC. You have
chosen EEOC to investigate your complaint, so PHRC will not investigate it and, in most cases.
will accept EEOC’s finding. If you disagree with PHRC’s adoption of EEOC’s finding, you will
have the chance to file a request for preliminary hearing with PHRC.

Since you have chosen to file your charge first with EEOC, making it the primary investigatory
agency, the Respondent will not be required to file an answer with PHRC, and no other action
with PHRC is required by either party, unless/until otherwise notified by PHRC.

If your case is still pending with PHRC after one year from filing with PHRC. you have the right
to file your complaint in state court. PHRC will inform you of these rights and obligations at
that time.

[Sign and date appropriate request below]

X__ 1 want my charge filed with PHRC. I hereby incorporate this form and the verification
below into the attached EEOC complaint form and file it as my PHRC complaint. | request
EEOC to transmit it to PHRC.

X__J understand that false statements in this complaint are made subject \o the penalties of 18

Pa. C.S. §4904, relating to unsworn falsification to authorities.

    
    

ignature and Date

I do not want my charge dual filed with PHRC.

X
Signature and Date
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INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION

Dennis Trotter and Christina Johnsten v. United Lutheran Seminary

EEOC No.:

 

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EEOC to transmit it to PHRC.

X__J understand that false statements in this complaint are made subject to the penalties of 18
Pa. C.S. $4904, relating to unsworn falsification to authorities.

 

  
   

\(--T-2H18
Signature and Dai

1 do not want my charge dual filed with PHRC.

Xx
Signature and Date

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 58 of 77

EXHIBIT “2”
Case 2:20-cv-00570-MSG Document 1 Filed 02/03/20 Page 59 of 77

 

 

 

 

 

 

 

 

EROS For 510108)
SECOND CHARGE OF DISCRIMINATION Cherge Presented To: Agencyties) Charge No(s):
This fena $ afected by (ne Privacy Aci of 1974, See encased Privecy Act FEPA
Statement snd ater information before completing tt¥a form.
EEOC
Pennayivania Human Relations Commission and and EEOC
Philadelphia Commission on Human Relations .
State or local Agency. # ary

Name Gackesie Mr., hts. irs.) Home Phona (faci. Ansa Goce) Gate of Birth
Mr. Dennis Trotter (402) 984-4313 4/29/61
Street Address City, State end ZIP Code

281A Hermitage Street, Philadelphia, PA 19127

 

Named is the Emptoyer, Lebor Onjatization, Employment Agency. Apprenticeship Committee, or State of Local Governmant Agency Thal | Befleve
Discriminated Against Ma os Others. (ff atore than two. fist under PARTICULARS below.)

 

 

 

 

 

 

 

Nome Mo Emptyees, Members § Phone No. (facioda Area Code}
United Lutheran Seminary >20 (717) 336-3000
Strat Address City, State and ZiP Coda

7301 Germantown Avenue, Philadeiphia, PA 19119
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Street Address Cay. State ena Zip Code
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THE PARTICULARS ARE (?/ cucitions! psper is needed, aifach extts sheet{s)):

Please see the attached second charge of discrimination — complaint, which is to be dual filed with
the Pennsylvania Human Relation Commission.

 

 

X want this charge Bed wéth both the EEOC and the State or tocal Agency, tf NOTARY — Whee nocessaty for Stata and Local Agency Requirements
any. | wil advise the agencies if? change my sddress of phone mumber end U will
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aA TITER swear or affirm that | have read the above charge and that 2 i true to
t dectare under penatly of perury that the above is true and comect. the best of my knowledge, information and belief, ~ m
SIGNATURE OF COMPLAINANT

SUBSCRIGED AND SWORN TO BEFORE ME THIS DATE
(nonth, day, yoes)

 

 

 

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 60 of 77

EEOC Form S (9109)

 

SECOND CHARGE OF DISCRIMINATION Charge Presented To: — Agency(ies) Charge No(s):
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[x] BEOC

 

 

Pennsylvania Human Relations Commission and

 

 

 

 

 

Philadeiphia Commission on Human Relations and EEOC
State or loca! Agenty, f sty
Mame Gndicate sir. Mz.. Mra} Home Phone (inc! Argo Code} Bata of Girth
Ms. Christina Johnsten (402) 984-4306 3/23/67
Steet Address Cay, State and ZIP Coda

281A Hermitage Street, Philadelphia, PA 19127

 

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Diseriminated Against hfe or Others. (4 more than two, Get under PARTICULARS below.)

 

 

 

 

 

 

 

Nene No Ercplopesa, Membon Phone No. (inckede Ange Cade)
United Lutheran Seminary >20 (717) 338-3000
Street Aditreas Cay, State end ZIP Code

7201 Germantown Avenue, Philadelphia, PA 19119
Heme to, Emptoynes Members Phone No, {include Arca Coca)
Street Addreza City. Stato and ZIP Code
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Please see the attached second charge of discrimination - complaint, which is to be dual ffed with
the Pennsylvania Human Retfation Commission.

 

 

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cooperate filly with them in the procsssing of my charge in gocordance with thetr
i swear or affinn that | have read the above chalga and that a fs true to

fdeciare under penalty of perjury that the above fs true and correct. the best of my knowledge. information and
SIGNATURE OF COMPLAINANT

\- 31 2044 Ch riatine Wel eT GUBECRIRED AND SWORN TO BEFORE ME THS DATE
= en

 

 

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 61 of 77

Equal Employment Opportunity Commission
Philadeiphia District Office

 

Dennis Trotter
and

Christina Johnsten, :
Complainants, : EEOC Charge No.

Vv. :

United Lutheran Seminary,
Respondent.

 

SECOND CHARGE OF DISCRIMINATION ~ COMPLAINT
1. Respondent United Lutheran Seminary (*ULS’) improperly
retaliated against Dennis Trotter (“Mr. Trotter”) and Christina Johnsten
("Ms. Johnsten”) in violation of Title VII of the Civil Rights Acts of 1964,
42 U.S.C. § 2000e, ef seq. (“Title VII"} and the Age Discrimination in
Employment Act of 1967, 29 U.S.C. § 621, et seq. (“ADEA”), as set forth
herein.
PARTIES
2. The complainants herein are:
Mr. Dennis Trotter
Ms. Christina Johnsten
281A Hermitage Street
Philadelphia, PA 19127
3. The respondent herein is:
United Lutheran Seminary

7301 Germantown Avenue
Philadelphia, PA 19127
Case 2:20-cv-00570-MSG Document 1 Filed 02/03/20 Page 62 of 77

UNDERLYING FACTS
Mr. Trotter and Ms. Johnsten file Charges of Discrimination

4. On November 7, 2018, Mr. Trotter and Ms. Johnsten each filed
a charge of discrimination with the EEOC regarding the
retaliatory conduct to which they had been subjected to by
ULS.'

5. The averments in Mr. Trotter's November 7, 2018 charge of
discrimination and supporting exhibits (EEOC Charge No. 530-
2019-00805) are incorporated into this second charge of
discrimination by reference, as if they were set out in full
herein.

6. The averments in Ms. Johnsten’s November 7, 2018 charge of
discrimination and supporting exhibits (EEOC Charge No. 530-
2019-00810} are incorporated in this second charge of
discrimination by reference, as if they were set out in full
herein.

7. The November 7, 2018 charges of discrimination of Mr. Trotter
and Ms. Johnsten were dual filed with the Pennsylvania Human

Relation Commission (“PHRC’}.

 

' As set forth in their complaints, ULS‘s conduct also violated the Pennsylvania Human Relation Act, as
amended, 43 P.S. § 951. ef seq., (PHRA”) and the Philadelphia Fair Practices Ordinance, as amended, $ 9-
1100, ef seq.. (“PFPO"), and James Duntop (“Acting President Dunlop”) and Dr. Richard Green ("Interim
President Green”) alded and abetted ULS's retaliatory conduct and retaliated against Mr. Trotter and Ms.
Johnsten in violation of the PHRA and the PFPO.

tS)
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 63 of 77

8. ULS was served with a copy of the November 7, 2018 charges of
discrimination of Mr. Trotter and Ms. Johnsten on or about

November 9, 2018.

ULS ignores Ms. Johnsten’s applications for open job positions

9. On December 24, 2018, Ms. Johnsten submitted a complete
application for employment to ULS for an advertised open
position of Director of Student Services. See Exhibit “1”.

10. Ms. Johnsten was qualified for the Director of Student
Services position.

11. ULS ignored Ms. Johnsten’s job application for the Director
of Student Services position despite the fact that its website
stated that “review of applications will begin immediately”.

12. On January 10, 2019, Ms. Jchnsten sent a follow-up email
to ULS to inquire about the status of her application for the
position of Director of Student Services.

13. Shortly after Ms. Johnsten sent her January 10, 2019
follow-up email, ULS removed the Director of Student Services
job posting from its website.

14. Upon information and belief, ULS discontinued its search
efforts to fill the Director of Student Services position to avoid

having to hire Ms. Johnsten to fill that role.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 64 of 77

15. In early January 2018, ULS announced on its website that it
was seeking to fill a Director of Admissions position. See
Exhibit *2”.

16. ULS designated the Director of Admissions position as
“Internal Applicants Only”.

17. Upon information and belief, ULS designated the Director of
Admissions position as “Internal Applicants Only”, in hopes of
deterring Ms. Johnsten from applying for the position.

18. Ms. Johnsten was qualified for the Director of Admissions
position.

19. On January 15, 2019, Ms. Johnsten submitted a compiete
application for employment to ULS for the Director of
Admissions position.

20. ULS refused to consider Ms. Johnsten’s job applications for
the positions of Director of Student Services and Director of
Admissions in retaliation for her engagement in the various
protected activities listed in her November 7, 2018 charge of
discrimination and herein.

21. ULS refused to consider Ms. Johnsten’s job applications for
the positions of Director of Student Services and Director of
Admissions in retaliation for Mr. Trotter’s engagement in the
various protected activities listed in his November 7, 2018

charge of discrimination and herein.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 65 of 77

Aiding and Abetting
22. Upon information and belief, Interim President Green aided

and abetted ULS’s retaliatory conduct.

Effects on Mr. Trotter and Ms. Johnsten
23. As a result of ULS’s unlawful conduct listed in their
November 7, 2018 charges of discrimination and herein, Mr.
Trotter and Ms. Johnsten have suffered and continue to suffer
Significant emotional distress and pecuniary losses, including,
but not limited to, a loss of earnings and/or earning capacity,
loss of benefits, pain and _ suffering, embarrassment,
humiliation, loss of reputation, loss of self-esteem, mental

anguish and loss of life’s everyday pleasures, and other

nonpecuniary losses.
COUNT ONE
RETALIATION
TITLE VII AND THE ADEA

MR. TROTTER & MS. JOHNSTEN V. ULS
24. The averments of this Charge are incorporated into this

Count by reference, as if they were set out in full herein.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 66 of 77

25. Section 704(a} of Title VII provides: “It shall be an unlawful
employment practice for an employer to discriminate against
any of his employees...because he has opposed any practice
made an unlawful employment practice by this subchapter, or
because he made a charge, testified, assisted or participated in
any manner in an investigation, proceeding, or hearing under
this subchapter.”

26. Section 623(d) of the ADEA provides: “It shall be unlawful for
an employer to discriminate against any of his
employees...because such individual...has opposed any practice
made unlawful by this section, or because such individual...has
made a charge, testified, assisted, or participated in any
manner in an investigation, proceeding or litigation under this
Act.”

27. The retaliatory conduct that ULS subjected Mr. Trotter to
was because of his engagement in the protective activities listed
in his November 7, 2018 charge of discrimination and herein.

28. The retaliatory conduct that ULS subjected Ms. Johnsten to
was because of Mr. Trotter’s engagement in the protective
activities listed in his November 7, 2018 charge of

discrimination and herein.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 67 of 77

29. The retaliatory conduct that ULS subjected Ms. Johnsten to
was because of her engagement in the protective activities listed .
in her November 7, 2018 charge of discrimination and herein.

30. ULS’s actions were willful and taken with malice or reckless
indifference to the rights of Mr. Trotter and Ms. Johnsten.

31. ULS, by the improper and unlawful actions cited herein,
violated Title VII and the ADEA, which both make it illegal to
retaliate against an employee for engaging in protected

activities.2

DUAL FILING
32. This second charge of discrimination is being dual filed with

the PHRC.

PRAYER FOR RELIEF
WHEREFORE, Mr. Trotter and Ms. Johnsten request that ULS be
held liable for retaliation under Title VII and the ADEA, and that United
Lutheran Seminary be required to provide Mr. Trotter and Ms. Johnsten
with their lost wages, actual damages, incidental damages, reinstatement
or front pay in lieu thereof, compensatory damages, punitive damages,
liquidated damages, damages caused by emotional pain, suffering,

inconvenience, mental anguish, loss of reputation, loss of enjoyment of

 

? ULS and Interim President Green, by the above cited improper and unlawful actions, also violated the
PHRA snd the PFPO.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 68 of 77

life, and other nonpecuniary losses, and all other appropriate remedies

under Title VII and the ADEA.3

 

> Mr. Trotter and Ms. Johnsten also pray that ULS and Interim President Green be required to provide all
pertinent remedies under the PHRA and the PFPO.
Case 2:20-cv-00570-MSG Document 1 Filed 02/03/20 Page 69 of 77

VERIFICATION

I hereby verify that the statements contained in this Second Charge of
Discrimination - Complaint are true and correct to the best of my knowledge,
information and belief. I understand that false statements herein are made
subject to the penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification

to authorities.

Date: |. a . Wr

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 70 of 77

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to authorities.

Date: {- Bl- WAG Churots\ Poo

Christina Johnstgh ‘e \
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 71 of 77

INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION

Dennis Trotter and Christina Jobusten v. United Lutheran Seminary
EEOC No.:

 

You have the right to fite this charge of discrimination with the Pennsylvania Human Relations
Commission (PHRC) under the Pennsylvania Human Relations Act. Filing your charge with
PHRC protects your state rights, especially since there may be circumstances in which state and
federal laws and procedures vary in a manner which would affect the oulcome of your case.

Complaints filed with the PHRC must be filed within 180 days of the act(s) which you believe
are untawful discrimination. If PHRC determines that your PHRC complaint is untimely. it will
be dismissed.

if you want your charge filed with the PHRC, including this form as part of your EEOC charge.
with your signature under the verification below, will constitute filing with the PHRC. You have
chosen EEOC to investigate your complaint. so PHRC will not investigate it and, in most cases,
will accept EEOC’s finding. If you disagree with PHRC’s adoption of EEOC’s finding, you will
have the chance to file a request for preliminary hearing with PHRC.

Since you have chosen to fite your charge first with EEOC, making it the primary investigatory
agency, the Respondent will not be required to file an answer with PHRC. and no other action
with PHRC is required by either party, unless/until otherwise notified by PHRC.

If your case is still pending with PHRC after one year from filing with PHRC. you have the right
to file your complaint in state court. PHRC will inform you of these rights and obligations at
that time.

(Sign and date appropriate request below]

X_! want my charge filed with PHRC. 1! hereby incorporate this form and the verification
below into the attached EEOC complaint form and file & as my PHRC complaint. | request
EEOC to transmit it to PHRC.

X__J understand that false statements in this camplaint are made _subfe

Pa. CS. §4904, relating to unsworn falsification to wis |

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fa the penalties of 18

  
   

 
  

I do not want my charge dual filed with PHRC.

x
Signature and Date

 
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 72 of 77

INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION

Dennis Trotter and Christina Jobusten v. United Lutheran Seminary
EEOC WNo.:

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If your case is still pending with PHRC after one year from filing with PIIRC. you have the right
to file your complaint in state court. PHRC will inform you of these rights and obligations at
that time.

[Sign and date appropriate request below]

X___1 want my charge fited with PHRC. { hereby incorporate this form and the verification
below into the attached EEOC complaint form and file it as my PHRC complaint, I request
EEOC to transmit it to PHRC.

X_J understand that false statements in thix complaint are made subject ta the penalties of 18
Pa. CS. §4904, relating to unsworn falsification to authorities.

 
 

I do not want my charge dual filed with PHRC.

x
Signature and Date
Case 2:20-cv-00570-MSG Document 1 Filed 02/03/20 Page 73 of 77

EXHIBIT “3”
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 74 of 77

 

 

EEOC Form 161-B (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: Dennis Trotter From: Philadelphia District Office
281 Hermitage Street 801 Market Street
Philadelphia, PA 19127 Suite 1300

Philadelphia, PA 19107

| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Legal Unit,
530-2019-00805 Legal Technician (267) 589-9700

 

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title Vil of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title Vil, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

Ue OF

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

FI

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federai or state court WITHIN
$0 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equa! Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought

in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

CDeni$L, Many — 11/14/2019

Enclosures(s) Jamie R. Williamson, (Date Mailed)
District Director

cc:

Theresa M. Zechman, Esq. Scott B. Freeman, Esq.
STEVENS & LEE FREEMANN LAW OFFICES
51 South Duke Street 3101 W. Glenwood Avenue
Lancaster, PA 17602 Suite G103

Philadeiphia, PA 19121
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 75 of 77

Enclosure with EEOC
Form 161-8 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS ~~ --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made weil before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE’ -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Case 2:20-cv-00570-MSG Document1 Filed 02/03/20 Page 76 of 77

 

 

EEOC Form 161-B (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NoTICE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: Christina Johnsten From: Philadelphia District Office
281a Hermitage Street 801 Market Street
Philadelphia, PA 19127 Suite 1300

Philadelphia, PA 19107

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Legal Unit,
530-2019-00810 Legal Technician (267) 589-9700

 

(See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:

Title Vil of the Civil Rights Act of 1864, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

Ue) OE

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

C7] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behaif of the Commission

Glavin 11/14/2019

 

Enclosures(s) Jamie R. Williamson, (Date Mailed)
District Director
ce. Theresa M. Zechman, Esq. Scott B. Freeman, Esq.
STEVENS & LEE FREEMANN LAW OFFICES
51 South Duke Street 3101 W. Glenwood Avenue
Lancaster, CO 17602 Suite G103

Philadelphia, PA 19121
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Enclosure with EEOC
Form 161-B (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
$0 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. !f so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within $0 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE’ -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 80 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
